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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

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In re: | Chapter 11

TWTR, INC. | Case No. 07-10787 (KG)
Reorganized Debtor. | Re: Docket No. w/e 88

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FINAL DECREE AND ORDER (A) CLOSING THE CHAPTER 11 CASE OF TWTR,
INC. PURSUANT TO 11 U.S.C. §§ 105(a) AND 350(a), FED. R. BANKR. P. 3022, AND
LOCAL RULE 3022-1(a); (B) DISCHARGING AND RELEASING THE LIQUIDATING
TRUSTEE AND TRUST ADVISORY BOARD; (C) TERMINATING THE SERVICES OF
KURTZMAN CARSON CONSULTANTS LLC AS CLAIMS, NOTICING AND
BALLOTING AGENT; AND (D) GRATING RELATED RELIEF

Upon the Liquidating Trustee's Motion for Final Decree and Order (a) Closing the
Bankruptcy Case of TWTR, Inc. (the "Motion") pursuant to sections 105(a) and 350(a) of the
Bankruptcy Code, Bankruptcy Rule 3022, and Local Rule 3022-1; (b) discharging and releasing
the Liquidating Trustee and Trust Advisory Board; (c) terminating the services of KCC as
claims, noticing, and balloting agent; and (d) granting related relief; and due and proper notice of
the Motion having been given under the circumstances; and the Court having jurisdiction over
the subject matter of the Motion and over the parties thereto; and upon the entire record of these
cases; and the Court having reviewed the Motion, and the Court finding that cause exists for the
relief requested by the Motion; it is hereby

ORDERED, FOUND, ADJUDGED AND DECREED that:

1. The Motion is GRANTED.

2. The bankruptcy case of TWTR, Inc., case number 07-10787, (the

“Remaining Debtor”) is hereby closed and a final decree is granted for the Remaining Debtor.

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3. The Liquidating Trustee shall be responsible for paying Statutory quarterly
fees to the Office of United States Trustee attributable to the Remaining Debtor for all] periods
through the date of this Order.

4, The Clerk of the Court shall enter this final decree and order (the "Order")
on the docket of the Remaining Debtor’s case and such docket thereafter shall be marked as
closed.

5. Subject to the performance of any obligations of KCC pursuant to this
Order, KCC’s services under the KCC Order or the Services Agreement with respect to the
Chapter 11 Cases are terminated in accordance with the Motion with respect to any services
KCC has provided to the Debtors. Except as otherwise provided in this Order, KCC shall have
no further obligations (arising out of the KCC Order, the Services Agreement, or otherwise) to
this Court, the Debtors, the Liquidating Trustee, or any other party in interest with respect to the
services subject of the KCC Order. KCC shall forward to the Liquidating Trustee any mail or
other correspondence received related to the Debtors or the Liquidating Trustee.

6. Pursuant to Local Rule 2002-1(f)(ix), within thirty (30) days of entry of
the proposed order, KCC shall (a) forward to the Clerk of the Bankruptcy Court an electronic
version of all imaged claims; (b) upload the creditor mailing list into CM/ECF:; and (c) docket a
final claims register containing the claims filed in the Chapter 11 Case. KCC shall further box
and transport all original claims to the Philadelphia Records Center, 14470 Townsend Road,
Philadelphia, Pennsylvania 19165 and docket a completed SF-135 Form indicating the accession
and location numbers of the archived claims

7. Upon filing with the Court of the notice of termination of the Liquidating

Trust (after all actions required under the Trust Agreement are completed and without the need

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of any further Order of this Court), the Liquidating Trustee, the Trust Advisory Board, and their
respective retained professionals, officers, and members are hereby discharged from any further
duties in connection with the Chapter 11 cases and released from any liability on account of any
acts or omissions in connection with the Chapter 11 cases and the affairs of the Liquidating Trust,
except with respect to acts or omissions constituting willful misconduct, gross negligence, or
willful disregard of their respective duties.

8. This Court shall retain jurisdiction to hear and determine all matters
arising from or related to the interpretation and/or implementation of this Order.

9. Notwithstanding Rule 6006(d) of the Federal Rules of Bankruptcy

Procedure, this Order shall take effect immediately upon signature.

Dated: Wilmington, Delaware
Det 6, 2016 .
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UNITED STATES BANKRUPTCY JUDGE

 

Honorable Revin Gross

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